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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 In re:                                         )     Chapter 13
                                                )
 MILLARD COURTNEY FARMER, JR.,                  )     Case No. 18-52363
                                                )
                    Debtor.                     )     Judge Cavender
                                                )

                      NOTICE OF RESCHEDULED HEARING
                ON MOTION TO ENFORCE SETTLEMENT AGREEMENT

        PLEASE TAKE NOTICE that on February 26, 2019, John H. Murphy filed a motion to
enforce settlement agreement and related papers with the court seeking an order enforcing the
settlement agreement. A notice of a hearing on the Motion was previously filed and served on
February 26, 2019 [ECF No. 61]. This notice supersedes and amends the prior notice and all
dates contained therein.

        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion
to enforce settlement agreement in Courtroom 1203, United States Courthouse, 75 Ted Turner
Drive, SW, Atlanta, Georgia, at 10:00 A.M. on March 26, 2019.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy
Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of
your response to the undersigned at the address stated below.
                Dated: March 11, 2019.
                                                /s/ Colin M. Bernardino
                                               Colin M. Bernardino, Esq. (GA Bar No. 054879)
                                               KILPATRICK TOWNSEND & STOCKTON LLP
                                               1100 Peachtree Street, Suite 2800
                                               Atlanta, Georgia 30309
                                               Telephone: (404) 815-6500
                                               Facsimile: (404) 815-6555
                                               Email: cbernardino@kilpatricktownsend.com

                                               Counsel for John H. Murphy


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                                  CERTIFICATE OF SERVICE
        I hereby certify that on March 11, 2019, a true and correct copy of the foregoing document

was filed electronically with the Court’s CM/ECF filing system which in turn will generate an

electronic notice of filing to all those who have requested or consented to electronic service in this

chapter 11 case.

        I further certify that the on March 11, 2019, a true and correct copy of the foregoing
document was served upon the parties listed below, via First Class US Mail, postage prepaid.
 Ralph Goldberg                                     Nancy J. Whaley
 Goldberg & Cuvillier, P.C.                         Standing Chapter 13 Trustee
 Suite 100                                          Suite 120
 1400 Montreal Road                                 303 Peachtree Center Avenue
 Tucker, GA 30084                                   Atlanta, GA 30303

 Nan Freeman                                        Millard Courtney Farmer, Jr.
 c/o Ken Gordon, Esquire                            1196 Dekalb Ave
 P.O. Box 1088                                      Atlanta, GA 30307
 Lagrange, GA 30241

 Wilmer Parker                                      City of Atlanta
 Maloy Jenkins Parker                               Office of Revenue
 1360 Peachtree Stree, NE, Suite 910                55 Trinity Ave, Suite 1350
 Atlanta, GA 30309                                  Atlanta, GA 30303

 Wilmer Parker                                      DeKalb County Tax Commissioner
 Suite 910                                          4380 Memorial Drive, Suite 100
 1360 Peachtree Street                              Decatur, GA 30032
 Atlanta, Ga. 30309

 LVNV Funding, LLC its successors and
 assigns as assignee of Citibank, N.A.
 Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603


 Dated: March 11, 2019                              /s/ Colin M. Bernardino
                                                        Colin M. Bernardino




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